                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


    In re:                                                     Case No. 18-34658

    Houtex Builders, LLC, et al.1                              Chapter 11

              Debtors.                                         Jointly Administered


    Houtex Builders, LLC, 2203 Looscan Lane,                   Adversary No. 20-03237
    LLC, and 415 Shadywood, LLC,

              Plaintiffs,

    v.

    HL Builders, LLC f/k/a CD Homes, LLC and
    Anna Williams,

              Defendants.


                                            PRETRIAL STATEMENT


TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY JUDGE:

             Plaintiffs Houtex Builders, LLC (“Houtex”), 2203 Looscan Lane, LLC (“Looscan”), and

415 Shadywood, LLC (“Shadywood” and collectively with Houtex and Looscan, the “Plaintiffs”),

by and through their undersigned counsel of record, Defendant HL Builders, LLC f/k/a CD Homes,

LLC, by and through its undersigned counsel of record, and Defendant Anna Williams, by and

through her undersigned counsel of record, file this Pretrial Statement in accordance with this




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             The names of the Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
             tax identification number, are: HouTex Builders, LLC (2111); 2203 Looscan Lane, LLC (1418); and 415
             Shadywood, LLC (7627).
Court’s Preliminary Pretrial Order [ECF 3] and state as follows:2

Plaintiffs’ Brief Statement of the Theory of Each Cause of Action3

Houtex Breach of Contract Claim

Houtex brings this claim for amounts CD Homes is obligated to pay under paragraph 8 of the
Investor Agreements for the Thornblade Project and the Lynbrook Project.

Looscan Breach of Contract Claim

Looscan brings this claim for amounts CD Homes is obligated to pay under paragraph 8 of the
Investor Agreements for the Looscan Project.

Shadywood Breach of Contract Claim

Shadywood brings this claim for amounts CD Homes is obligated to pay under paragraph 8 of the
Investor Agreements for the Shadywood Project.

Avoidance of Transfers Under 11 U.S.C. § 548(a)(1)(A)

Plaintiffs allege that Robert Parker arranged to have numerous third-party financings taken out in
the name of the Plaintiffs. The proceeds of these financings were deposited into CD Homes’
operating account. Robert Parker, Anna Williams and CD Homes then used these financings
proceeds to make member draws to Anna Williams, the wife of Robert Parker and owner of CD
Homes. Plaintiffs seek to avoid these member draws as intentional fraudulent transfers.

Avoidance of Transfers Under 11 U.S.C § 548(a)(1)(B)

Plaintiffs seek to avoid the member draws made to Anna Williams as constructive fraudulent
transfers because the Debtors received no value in exchange for the transfers of its financing
proceeds.

Avoidance of Transfers Under 11 U.S.C. § 544(b) and Tex. Bus. & Com. Code § 24.005(a)(1)

Plaintiffs seek to avoid the member draws made to Anna Williams as intentional fraudulent
transfers pursuant to the Plaintiffs’ strong-arm powers under section 544(b) of the Bankruptcy
Code and Tex. Bus. & Com. Code § 24.005(a)(1).




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       Capitalized terms used but not defined in this section have the meanings assigned to such terms in the
       Amended Complaint [ECF 18].
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       The following is a summary of the Plaintiff’s claims and is not intended to recite every fact relevant to each
       claim. Plaintiff reserves all of its rights to supplement these statements.

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Avoidance of Transfers Under 11 U.S.C. § 544(b) and Tex. Bus. & Com. Code § 24.005(a)(2)

Plaintiffs seek to avoid the member draws made to Anna Williams as constructive fraudulent
transfers pursuant to the Plaintiffs’ strong-arm powers under section 544(b) of the Bankruptcy
Code and Tex. Bus. & Com. Code § 24.005(a)(2).

Recovery of Transfer Under 11 U.S.C. § 550(a)

Anna Williams is either the initial transferee, the immediate transfer or the initial transferee or the
beneficiary of the member draw transfers that the Plaintiffs seek to avoid. Plaintiffs seek a
judgment against Anna Williams in an amount not less than $3,248,289.94 to recover the transfers.

Avoidance of Transfers Under Texas Uniform Fraudulent Transfer Act

As a creditor of CD Homes, Plaintiffs seek to recovery the member draws transferred to Anna
Williams when the Plaintiffs had claims against CD Homes and while CD Homes was insolvent.

Plaintiff’s Brief Summary of Plaintiff’s Contentions of Facts In Support of Causes of
Action and the Evidence To Be Relied Upon To Establish Each of the Facts Contended4

                  Contention of Fact                                                Evidence
    Existence and validity of the Investor                     Investor Agreements and testimony of
    Agreements                                                 Charles Foster
    CD Homes breaches of the Investor                          Closing statements for each of the Projects
    Agreements                                                 and testimony of Charles Foster
    Damages for the Breaches of Investor                       Deeds of trust and other loan documents
    Agreements                                                 evidencing the numerous loans taken out on
                                                               the Projects that have not been satisfied, the
                                                               closing statements for the Projects, proofs of
                                                               claims filed in these bankruptcy cases, and
                                                               testimony of Charles Foster
    Transfers for Plaintiffs’ Financing Proceeds to CD Home bank account records, deeds of
    Anna Williams as Member Draws                   trust and other loan documents evidencing the
                                                    numerous loans taken out on the Projects




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          There will likely be additional relevant facts and evidence identified through the discovery process.
          Plaintiff reserves all of its rights to supplement these statements.

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Defendant’s Brief Statement of the Theory of Your Defense(s), Interests, Causes of Action5

CD Homes, LLC

CD Homes, LLC (“CD Homes”) contends that the Investor Agreements entered into with HouTex
Builders, LLC, 2203 Looscan Lane, LLC, and 415 Shadywood, LLC (the “Debtors”) were
modified by the actions and agreement of the parties. CD Homes further contends that it is the
Debtors who owe CD Homes monies under the agreements, as modified and ratified by the conduct
of the parties, in the amounts funded by CD Homes toward the completion and ultimate sale of
each Project. CD Homes contends that Debtors’ principal, Charles Foster, individually and as the
sole representative of each Debtor, was the direct and proximate cause of substantial delay in the
commencement and completion of Projects which resulted in enormous increased costs of carry
and ultimate losses on Projects.

CD Homes, LLC contends that the Debtors lacked standing as creditors of CD Homes until, if
ever, the closing of the sales of the respective properties. As a result, they lack standing to
challenge any transfers made before they acquired creditor standing. Further, the Debtors cannot
show that CD Homes was ever insolvent (a necessary element to recovering under the Texas
Uniform Fraudulent Transfer Act (TUFTA)). In fact, res judicata and collateral estoppel establish
that CD Homes was not insolvent for the period when the challenged transfers were made. CD
Homes contends that the applicable statutes of limitation and repose bar some of the claims
asserted by the Debtors.

Anna Williams

Williams contends that the Debtors lacked standing as creditors of CD Homes until CD Homes
failed to deliver funds that were allegedly due to the Debtors at the closing of the sale of the
respective properties.6 As a result, they lack standing to challenge any transfers made before they
acquired creditor standing. Further, the Debtors cannot show that CD Homes was insolvent, a
necessary element to recovering under the Texas Uniform Fraudulent Transfer Act (TUFTA). In
fact, res judicata and collateral estoppel establish that CD Homes was not insolvent at any time
during the period when the challenged transfers were made. Further, the challenged transfers were
made in the ordinary course of CD Homes’s business. Over the years, Williams paid millions of
dollars to the various vendors, subcontractors, and suppliers that provided the labor and materials
CD Homes used to build the custom homes that the Debtors, in turn, sold. Most of the challenged
transfers were simply repayments of these amounts. And as the sole owner of a business that relied
entirely on her credit to fund its operations, she was also entitled to equity distributions and
management fees, which were also made in the ordinary course of business. Williams contends
that the applicable statutes of limitation and repose bar some of the claims asserted by the Debtors.




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       The following is a summary of the Defendants’ positions and is not intended to recite every fact relevant to
       each position or theory. Defendants reserve all their rights to supplement or amend these statements.
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       Williams does not waive her arguments that the Debtors have failed to state a claim against her.

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Defendant’s Brief Summary of Contentions of Facts In Support of Legal Theories, and the
Evidence To Be Relied Upon To Establish Each of the Facts Contended7

CD Homes, LLC


                Factual Contention                                           Supporting Evidence
    The Investor Agreements were modified                      Deeds of trust and other loan documents
                                                               evidencing the numerous loans taken out on
                                                               the Projects; Charles Foster’s sole decision
                                                               making conduct; Charles Foster’s payment of
                                                               Project expenses; Judge Eduardo Rodriguez’
                                                               memorandum opinion dated February 18, 2020
                                                               in Case No. 19-32825; In re HL Builders, LLC;
                                                               aka CD Homes, LLC, Target Debtor                 (p.
                                                               23, l. 1-3; p. 24, l. 6-9, 17-20; p. 25, l. 3-14; p.
                                                               26; l. 1--12);
                                                               Robert Parker testimony; and
                                                               Charles Foster testimony.
    Construction delay was caused by Charles                   Judge Eduardo Rodriguez’ memorandum
    Foster/Debtors                                             opinion dated February 18, 2020 in Case No.
                                                               19-32825; In re HL Builders, LLC; aka CD
                                                               Homes, LLC, Target Debtor
                                                               (p. 25, l. 9-14; p. 26; l. 1-2, 8-12);
                                                               Robert Parker testimony; and
                                                               Charles Foster testimony.
    CD Homes’ principal, Anna Williams, used                   Invoices and credit card statements including
    her credit to pay the costs that CD Homes and              summary evidence of same previously
    the Debtors incurred with its subcontractors,              furnished to Plaintiffs
    vendors, and suppliers on the Projects
    CD Homes was not insolvent during the period Financial records, bank accounts, general
    when the challenged transfers were made.       ledger, all of which have previously been
                                                   furnished to Plaintiffs.
    The challenged transfers made in the ordinary Bank account records and general ledger.
    course of dealing.
    The Debtors did not potentially become The Investor Agreements; Project closing
    creditors of CD Homes until the closing on the statements; and Judge Eduardo Rodriguez’
    sales of the respective properties.            memorandum opinion dated February 18, 2020
                                                   in Case No. 19-32825; In re HL Builders, LLC;
                                                   aka CD Homes, LLC, Target Debtor
                                                   (p. 19, l. 7-9, 17-19; P. 20, l. 1-5).



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          There will likely be additional relevant facts and evidence identified through the discovery process.
          Defendants reserve all their rights to supplement or amend these statements.

                                                           5
Anna Williams


                 Factual Contention                                       Supporting Evidence
    Williams used her credit to pay the costs that             Invoices and credit card statements, including
    CD Homes incurred with its subcontractors,                 summary evidence of same, and testimony.
    vendors, and suppliers on the Projects.
    CD Homes paid Williams management fees in                  Financial records, bank accounts, general
    the ordinary course of its business.                       ledger, and testimony.
    CD Homes was not insolvent during the period               Financial records, bank accounts, general
    when the challenged transfers were made.                   ledger, and testimony.
    The     challenged     transfers     constituted           Bank account records, general ledger, and
    repayments of advanced funds, management                   testimony.
    fees, and equity distributions made in the
    ordinary course of dealing.
    The Debtors did not become creditors of CD                 The Investor Agreements and testimony.
    Homes until the closing on the sale of the
    respective properties.

Statement of Admitted and Uncontested Facts.

Houtex, Shadywood, and Looscan are special-purpose entities set up to build one or more
multimillion-dollar homes.

CD Homes is a home construction company. Anna Williams is the owner of CD Homes. Anna
Williams’ husband, Robert Parker, is a consultant for and advisor to CD Homes. Hampton Lane
Builders is owned by Anna Williams

During 2013 and 2014, Houtex, Shadywood and Looscan entered into sets of contracts related
each of the Lynbrook Project, the Thornblade Project, the Shadywood Project, and the Looscan
Project. Each set of contracts establishes the terms of the construction and financing of a single-
family home. Each set of contracts includes an investor agreement which establishes how each
Project is financed and provides that there will be a construction loan and an equity loan in
connection with each Project.

During the period from 2014 to sometime between late 2017 to early 2018, Parker acted as an
agent of Houtex, Shadywood, and Looscan.8

Certain financings were entered into by Houtex, Shadywood or Looscan and used in connection
with the Projects as follows:

          a.     $1.6 Million Spirit of Texas Bank Note: Houtex entered into loan with Spirit of
          Texas Bank (“SOTB”) in the amount of $1.6 million (the “$1.6 Million SOTB Note”) dated
          May 30, 2014. Robert Parker admitted that the proceeds of the $1.6 Million SOTB Note
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          Whether Robert Parker acted as agent intermittently or all of the time is a disputed fact. See Statement of
          Contested Facts below.

                                                           6
       were used to fund expenses for the Projects as follows: (i) 3 Thornblade (owned by Houtex)
       in the amount of $467,635.43, (ii) 2203 Looscan in the amount of $20,000, and (iii) 415
       Shadywood in the amount of $406,323.41.

       b.      $500,000 Spirit of Texas Bank Line of Credit. Houtex entered into a $500,000 line
       of credit from Spirit of Texas Bank (the “SOTB LOC”) dated October 21, 2015. The SOBT
       LOC had $483,754.90 in principal and interest outstanding as of the date Houtex filed its
       voluntary petition for bankruptcy relief.

       c.     $387,254.71 Great Southwest Financial Corporation Loan. Houtex entered into a
       deed of trust in favor of Great Southwest Financial Corp. (“GSFC”) in the amount of
       $230,000, dated July 2, 2014, recorded July 18, 2018 and secured by 3 Thornblade. Houtex
       entered into deed of trust in favor of GSFC in the amount of $126,500, dated February 5,
       2015, recorded on July 18, 2018, and secured by 3 Thornblade.

       d.       $783,000 in Loans with Hmaidan & Hmiadan. Houtex entered into a deed of trust
       in favor of Hmaidan & Hmiadan, LLC (“Hmaidan”) in the amount of $385,000, dated
       March 16, 2017, recorded March 16, 2017, and secured by Lynbrook. Houtex entered into
       a deed of trust in favor of Hmaidan in the amount of $385,000, dated May 9, 2017, recorded
       May 10, 2017, and secured by Lynbrook. These two deeds of trust were rolled into a deed
       of trust in favor of Hmaidan in the amount of $783,000 secured by Looscan.

       e.      $347,600 Loan with Pensco Trust Company LLC. Shadywood entered into a deed
       of trust in favor of Pensco Trust Company LLC Custodian FBO Herbert Andrew Chiles
       (Dec’d) IRA (“Pensco”) in the amount of $347,600, dated June 15, 2017, recorded May
       10, 2018, and secured by Shadywood.

For the period from August 23, 2014 to August 23, 2018, the Petition Date, CD Homes transferred
funds to Anna Williams. The CD Homes bank records reflect the timing and the amount of the
particular transfers.

Each of the Lynbrook Project, the Thornblade Project, the Shadywood Project, and the Looscan
Project has sold.

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CD Homes’ answer to the amended complaint is not yet due. CD Homes admits that Anna
Williams is the 100% owner of CD Homes. CD Homes admits that Williams is married to Robert
F. Parker.

Anna Williams

Williams answer to the amended complaint is not yet due. Williams admits that she is the 100%
owner of CD Homes. Williams admits that she is married to Robert F. Parker. Williams admits
that the challenged transfers represented the repayment of advanced expenses and earned
management fees.

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Statement of Contested Facts.

Whether Lily Foster, the wife of Charles Foster, is a member and manager of each Houtex,
Shadywood and Looscan.

Whether during the period from 2014 to sometime between late 2017 to early 2018, Parker acted
as an agent of Houtex, Shadywood, and Looscan intermittently or all of the time.

Whether the SOTB LOC was secured by 3 Thornblade.

Whether Houtex entered into a deed of trust in favor of Jim D. Nored (“Nored”) in the amount of
$339,000, dated May 13, 2013, recorded May 22, 2018 and secured by Lynbrook.

Whether Houtex entered into a deed of trust in favor of Nored in the amount of $90,000, dated
December 23, 2014, recorded May 22, 2018 and secured by Lynbrook.

Whether Shadywood entered into a deed of trust in favor of Nored in the amount of $224,000,
dated September 29, 2017, recorded August 8, 2018 and secured by Lynbrook.

Whether Shadywood entered into a deed of trust in favor of Nored in the amount of $118,500,
dated September 29, 2017 recorded August 8, 2018 and secured by Lynbrook.

Whether Houtex entered into a deed of trust in favor of Hampton Lane Builders in the amount of
$216,050, dated March 31, 2014 and recorded on December 15, 2017.

Whether the proceeds of the construction loans, the equity loans and the third-party loans were
transferred to CD Homes’ operating account.

Whether for the period from August 23, 2014 to August 23, 2018, CD Homes made member draws
to Anna Williams totaling at least $3,248,289.94.

Whether the original terms of the contracts or investor agreements between each Houtex,
Shadywood and Looscan, on the one hand, and CD Homes, on the other hand, were ever modified.

Whether amounts placed in the CD Homes “suspense account” were from the Plaintiffs’ financing
proceeds.

Whether the source of the transfers to Williams was the Plaintiff’s financing proceeds.

Whether the transfers to Anna Williams are member draws.

Whether Charles Foster began paying expenses for the Projects directly starting at the beginning
of 2018.




                                                8
Whether prior to Charles Foster paying the Project expenses, CD Homes paid the Project expense
directly.

CD Homes and Williams contest Debtors’ creditor status prior to the closing on the sale of the
respective properties. CD Homes and Williams contest the insolvency of CD Homes. CD Homes
and Williams contest that any of the funds distributed to her by CD Homes belonged to the Debtors.
CD Homes and Williams contest the allegation that Debtors received less than reasonably
equivalent value in exchange for the transfers in dispute. CD Homes and Williams contest the
allegations that any distributions made to Williams by CD Homes were made with an actual
intention to hinder, delay, or defraud Plaintiffs. CD Homes contests any allegation that
distributions made to Williams by CD Homes were not made in the ordinary course of business.

Statement of Contested Legal Issues.

Anna Williams

Williams contests the Debtors’ standing to challenge transfers from CD Homes to Williams under
11 USC §§ 544, 548, and 550. Williams contests any res judicata or collateral estoppel effect of
any ruling on her proofs of claim as dispositive of any issue in this case.

CD Homes, LLC

CD Homes contests the Debtors’ standing to challenge transfers from CD Homes to Williams
under 11 USC §§ 544, 548, and 550. CD Homes contests any res judicata or collateral estoppel
effect of any ruling on proofs of claim as dispositive of any issue in this case. CD Homes contends
that the parties modified their agreements.

A List and Description of Any Motions Pending or Contemplated and Any Special Issues
Appropriate For Determination In Advance of Trial on the Merits.

Williams has filed or anticipates filing a motion to dismiss the Debtors’ claims under Rule 12(b)(6)
because the Debtors lack standing to challenge transfers from CD Homes to Williams under
11 USC §§ 544, 548, and 550, and because the Debtors did not acquire the creditor status required
to bring claims under the TUFTA until the closing on the sale of the respective properties, all of
which occurred after the challenged transfers. Williams has filed or anticipates filing a motion
requesting the Court to reconsider its order denying the motion to withdraw the reference. Williams
anticipates filing a motion for summary judgment challenging the Debtors to show some evidence
that CD Homes was insolvent at the time of the challenged transfers and that the challenged
transfers were not made in the ordinary course of business for equivalent value received.




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Respectfully submitted,

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